             Case 2:19-cv-00239-GMS Document 23 Filed 08/27/19 Page 1 of 2



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11   Attorneys for Bardwell Defendants

12
                         IN THE UNITED STATES DISTRICT COURT
13

14                                  DISTRICT OF ARIZONA
15
     Ronald H. Pratte,                                Case No.: 2:19-cv-00239-PHX-GMS
16
                   Plaintiff,
17
                                                      NOTICE OF SERVICE OF WRITTEN
     vs.
18                                                    DISCOVERY
19   Jeffrey Bardwell and Fanny F. Bardwell,
     husband and wife,
20
                   Defendants.
21

22          Pursuant to LRCiv 5.2, Defendant Jeffrey Bardwell gives notice that, on August
23
     26, 2019, he served Defendant Jeffrey Bardwell’s First Set of Requests for Production to
24
     Plaintiff Ronald H. Pratte and Defendant Jeffrey Bardwell’s First Set of Interrogatories to
25

26   Plaintiff Ronald H. Pratte by U.S. Mail and Email on the following:
27

28




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              Case 2:19-cv-00239-GMS Document 23 Filed 08/27/19 Page 2 of 2



1    Gregory B. Collins                               Zachary R. Fort
2
     KERCSMAR & FELTUS PLLC                           KERCSMAR & FELTUS PLLC
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5
             Dated this 27th of August, 2019.
6

7

8                                               By: /s/ Thomas J. Marlowe
                                                LAW OFFICES OF THOMAS J. MARLOWE
9
                                                2425 East Camelback Road, Suite 880
10                                              Phoenix, Arizona 85016
                                                Attorney for Defendant
11

12
                                   CERTIFICATE OF SERVICE
13

14           I, Thomas J. Marlowe, hereby certify that on August 27, 2019, I electronically

15   transmitted the foregoing document to the Clerk’s Office using the ECF system for filing
16
     and transmittal of a Notice of Electronic Filing to the following ECF registrant(s) in this
17
     case.
18

19   By: /s/ Thomas J. Marlowe
20
     Gregory B. Collins
21   Zachary R. Fort
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